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IN 'I'HE UNITED sTATES DISTRICT coURT ""“~»-~~D'C»
FOR THE wEsTERN DISTRICT oF TEN'NESSEE 95 ,gp 22 w 9_
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MARCUS AsKEw, ) v mading

Petitioner,

v. No. 04-2235 Ma/P

DAVID MILLS, Warden, et al.,
Respondents.

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ORDER GRANTING RESPONDENTS' MOTION TO DISMISS

 

This case involves Marcus Askew's petition for a writ of
habeas corpus arising from his denial of parole. Before the court

is Respondents' motion. to dismiss, filed September 27, 2004.
Petitioner responded. on October 20, 2004. For the following
reasons, the motion is GRANTED.

I. Background

Petitioner Askew brings a petition for a writ of habeas corpus
under 28 U.S.C. § 2254, claiming that he is being held in the West
Tennessee State Penitentiary in Henning, Tennessee, in violation of
the United States Constitution. Askew alleges several
constitutional violations in his parole hearing: l) the reasons
given for denial of his parole were vague and inadequate, 2) his
parole was denied in an arbitrary and capricious manner, 3) he was
denied protection from double jeopardy because the parole board
relied on facts in its decision denying parole that were

duplicative of those underlying his conviction, 4) he was not

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permitted access to his parole file, 5) the Tennessee Board of
Paroles has not established meaningful criteria for granting
parole, 6) the Tennessee Board of Paroles neglected its duty to
determine petitioner's fitness to be paroled because only one board
member appeared at petitioner’s hearing, and the board member
failed adequately to study the petitioner's application for parole,
and 7) the state of Tennessee has unilaterally altered Petitioner’s
plea agreement.

The Respondents argue that the Petitioner has failed to
exhaust his state remedies and that he has no justiciable
constitutional claims.

II. Jurisdiction

Petitioner brings this action under 28 U.S.C. § 2254, and the
court has jurisdiction under that provision.
III. Analysis

There is no inherent constitutional right to parole.
Greenholtz v. Inmates of Nebraska Penal and Correctional Complex,
442 U.S. l, 7 (1979). State law and procedures determine whether
a state prisoner has a liberty interest in parole sufficient to
trigger constitutional due process protections. ld; at ll; Boards
of Pardon v. Allen, 482 U.S. 369, 373 (1987); Wright v. Trammell,
810 F.2d 589, 590 (6th Cir. 1987). There is no constitutionally
protected interest where the state holds out “no more than a mere

hope that the benefit will be obtained.” Wright, 810 F.2d at 590

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(quoting Greenholtz, 442 U.S. at 11).

lt is well established that the rules of the Tennessee Board
of Paroles do not create a protected liberty interest sufficient to
trigger due process protections. Wright, 810 F.2d at 590-91; N§ll§
v. Tennessee Board of Paroles, 909 S.W.Zd 826, 828 (Tenn. Ct. App.
1995); Rowan v. Traughber, 48 Fed. Appx. 489, 490-91 (6th Cir.
2002); Berry v. Traughber, 48 Fed. Appx. 483, 484-85 (6th Cir.
2001). Thus, the Petitioner cannot bring a constitutional
challenge to the procedures employed in conducting his parole
hearing'.1 gee Wright, 810 F.2d at 591; Walton v. Michigan, 115 Fed.
Appx. 786, 787 (Gth Cir. 2004). The court does not reach the
question of exhaustion of state remedies.
IV. Conclusion

For the foregoing reasons, the respondents’ motion to dismiss

is GRANTED.

so oRDE:RED this "`-l"l€lay cf April 2005.

SAMUEL H. MAYS, JR
UNITED STATES DISTRICT JUDGE

 

 

1 Petitioner claims that he “in no way is challenging the intrinsic
correctness of the Board of Paroles[‘s] decision.” (Pet. Resp. at 4.) Because
he does not assert that the Board’s decision to deny parole was incorrect, it
is highly unlikely that Petitioner's allegations show that he is “in custody
in violation of the Constitution or laws or treaties of the United States,” a
threshold requirement for success on a habeas petition. §§g 28 U.S.C. §
2254(a)(emphasis added).

   

UNITSED`ATES DISTRICT C URT - WEMRNISRIOF TNNESSEE

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Honorable Samuel Mays
US DISTRICT COURT

